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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

 In re: PHARMACEUTICAL INDUSTRY                    )
 AVERAGE WHOLESALE PRICE                           )
 LITIGATION                                        )   MDL No. 1456
                                                   )   Master Case No. 01-12257-PBS
                                                   )
 THIS DOCUMENT RELATES TO:                         )   Subcategory Case No. 06-11337-PBS
                                                   )
 United States of America ex rel. Ven-a-Care       )
 of the Florida Keys, Inc. v. Dey, Inc., et al.,   )
 Civil Action No. 05-11084-PBS, and                )
                                                   )
 United States of America ex rel. Ven-a-Care       )
 of the Florida Keys, Inc. v. Boehringer           )
 Ingelheim Corporation, Inc., et al., Civil        )
 Action No. 07-10248-PBS                           )
                                                   )

                    JOINT MOTION TO MODIFY PRETRIAL ORDER

       The parties to the above-captioned actions hereby move to modify the Pretrial Order

dated October 20, 2009 (Master Dkt #6613, Sub. #508), in accordance with the attached

proposed schedule. The parties have reached agreement on changes that would advance a

number of due dates so that the various pretrial tasks are more staggered. In addition, the

defendants propose (without objection by plaintiffs) to add a new April 12, 2010, deadline for

limited “fairness/completeness counter-counter designations” of deposition testimony, and to

move the April 9 deadline for objections to counter-designations to the same April 12 date. The

parties further propose to add a new April 15, 2010, deadline for objections to counter-counter

designations. On each of these dates, the parties propose serving charts containing each party’s

designations. The parties further propose that on April 19, 2010, the parties file the charts

containing each party’s designations with the Court via ECF, and submit to the Court CDs


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containing deposition transcript excerpts. The parties believe that submitting transcript

designations to the Court after all rounds of designation have been completed will lessen the

burden on the parties and the Court, and will reduce confusion. Due to the potential volume of

transcript designations, the parties propose submitting to the Court excerpts containing the

designated testimony for each witness, rather than filing via ECF either full transcripts or

transcript excerpts. The proposed changes would not affect the deadlines set by the Court for

filing the joint pre-trial memorandum, motions in limine and oppositions thereto, and trial briefs.

Respectfully submitted,


 TONY WEST                                           FOLEY HOAG LLP
 ASSISTANT ATTORNEY GENERAL

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 UNITED STATES ATTORNEY                              Martin F. Murphy
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 Dated: March 8, 2010

                                      CERTIFICATION

       The undersigned counsel certifies pursuant to LR 7.1(A)(2) that counsel have conferred
concerning this motion.
                                                    /s/ George B. Henderson, II
                                                    George B. Henderson, II




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                                 CERTIFICATE OF SERVICE

        I hereby certify that I have this day caused an electronic copy of the above document to
be served on all counsel of record via electronic service pursuant to Paragraph 11 of Case
Management Order No. 2 by sending a copy to LexisNexis File & Serve for posting and
notification to all parties.

Dated: March 8, 2010                                /s/ George B. Henderson, II
                                                    George B. Henderson, II




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 Ingelheim Corporation, Inc., et al., Civil
 Action No. 07-10248-PBS                              )
                                                      )
                                                      )

                                       PROPOSED ORDER

       Upon consideration of the Joint Motion to Modify Pretrial Order, it is hereby ORDERED

that the dates are modified as set forth in the attached schedule.



       This ________ day of _______, 2010.



                                       _________________________________
                                       PATTI B. SARIS
                                       UNITED STATES DISTRICT JUDGE
